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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                       :
 NEW YORK, et al.,                                                     :
                                                                       :
                                         Plaintiffs,                   :          25-CV-1144 (JAV)
                                                                       :
                   -v-                                                 :     OPINION AND ORDER
                                                                       :
 DONALD TRUMP, et al.,                                                 :
                                                                       :
                                         Defendants.                   :
 --------------------------------------------------------------------- X
JEANNETTE A. VARGAS, United States District Judge:

       Nineteen states (collectively, the “States” or “Plaintiffs”) have brought this

suit pursuant to, inter alia, the Administrative Procedure Act (“APA”), 5 U.S.C.

§§ 551 et seq., challenging the access to the payment systems of the Bureau of Fiscal

Services (“BFS”) provided to members of the Department of Government Efficiency

(“DOGE”) team established at the U.S. Department of Treasury (“Treasury DOGE

Team”). Plaintiffs claim that this access violated, inter alia, the Privacy Act, 5

U.S.C. § 552a, and section 208 of the E-Government Act of 2002, 44 U.S.C. §§ 101 et

seq. Plaintiffs also contend that Defendants’ actions were arbitrary and capricious.

On February 21, 2025, this Court granted Plaintiffs’ motion for a preliminary

injunction. ECF No. 76 (“PI Order”). The PI Order enjoined Defendants from

providing members of the Treasury DOGE Team access to the BFS payment

systems. In doing so, the Court held that Plaintiffs had established a likelihood of

success with respect to their claim that Defendants’ actions were arbitrary and

capricious. In contrast, the Court determined that Plaintiffs were unlikely to
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succeed on the merits of their statutory APA claims, as they could not satisfy the

zone of interests test.

      Currently pending before the Court are Defendants’ motion to partially

dissolve the preliminary injunction to allow a new member of the Treasury DOGE

Team to access BFS payment systems and Plaintiffs’ motion to reconsider the

portions of the PI Order that held that the States were unlikely to succeed on their

Privacy Act and E-Government Act claims.

      For the reasons stated herein, the Court DENIES Plaintiffs’ motion for

reconsideration and GRANTS Defendants’ motion to partially dissolve the

preliminary injunction.

                                 BACKGROUND

      Familiarity with the Court’s PI Order is presumed. As relevant here, on

January 20, 2025, President Donald Trump issued Executive Order 14,158,

Establishing and Implementing the President’s “Department of Government

Efficiency” (the “E.O.”). Exec. Order No. 14,158, 90 Fed. Reg. 8441 (Jan. 29, 2025).

The E.O. established DOGE, with the stated purpose of “implement[ing] the

President’s DOGE Agenda, by modernizing Federal technology and software to

maximize governmental efficiency and productivity.” E.O. § 1. The E.O. also

created the United States DOGE Service (“USDS”) within the Executive Office of

the President. Id. § 3(a). The E.O. calls for the creation of DOGE Teams within

each executive agency. Id. § 3(c). Agency Heads are required to consult with the

USDS Administrator in selecting the members of the DOGE Team. Id.




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Additionally, Agency Heads are required to coordinate their work with USDS, and

DOGE Team Leads are to “advise their respective Agency Heads on implementing

the President’s DOGE Agenda.” Id.

      On January 23, 2025, a DOGE Team was formed at the Treasury

Department. PI Order at 7. Thomas H. Krause, Jr. was appointed as the DOGE

Team Lead and Marko Elez was the Treasury DOGE Team’s technical specialist.

Id.

      Upon the DOGE Team’s arrival at the Treasury Department, its members

sought access to the BFS payment systems, including its source code, applications,

and databases. Id. at 11. The BFS is an operational bureau within the Treasury

Department that oversees the federal government’s accounting, central payment

systems, and public debt, and functions as the central payment clearinghouse for all

payments to and from federal agencies. Id. at 3. Its payment systems utilize

payment files that contain confidential personally identifiable information,

including Social Security and bank account numbers. Id. at 4. The Treasury DOGE

Team ostensibly sought access to the payment systems in order “to identify data

gaps that could make the systems work more efficiently,” and “identify

opportunities to advance payment integrity and fraud reduction goals.” Id. at 11

(quoting ECF No. 32 ¶ 6). BFS developed an “engagement plan” pursuant to which

the Treasury DOGE Team would be provided such access, subject to certain

mitigation efforts. Id.




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      The States are each recipients of significant amounts of federal funds, which

are processed through BFS. Id. at 16. In order to receive funds through BFS

payment systems, the States provide the Treasury Department with their wiring

and bank account information. Id. Additionally, the sensitive, confidential

information of State residents, including social security numbers, bank account

information, and federal tax return information, is also contained in the BFS

payment systems. Id.

      In seeking a preliminary injunction, the States alleged that the Treasury

Department had violated federal law by permitting the Treasury DOGE Team to

access data in the BFS payment systems. Id. They pointed to potential security

risks, including the possibility of cyber attacks and identity theft. Id. at 17. In

their Complaint, the States also raised concerns that this new policy had been

implemented as a mechanism to block payments to States that they were entitled to

under federal law. Id. at 17; see also ECF No. 1 ¶¶ 15, 141, 174, 189.

      The Court granted the motion for a preliminary injunction. The Court held

that Plaintiffs had standing because they had adequately alleged that, by granting

the Treasury DOGE Team access to the BFS payment systems under the

engagement plan, Defendants had created a realistic danger of future unauthorized

disclosures of the States’ financial information. Id. at 27-30. The Court further

held that Plaintiffs were more likely than not to prevail on their claim that the

Treasury Department had “acted arbitrarily and capriciously by failing to

adequately consider the numerous privacy and security problems associated with




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the Engagement Plan.” Id. at 33. Noting that the “inexplicable urgency and time

constraints under which [BFS staff] operated all but ensured that the launch of the

Treasury DOGE Team was chaotic and haphazard,” the Court found that the

Treasury DOGE Team should have been appointed, onboarded, trained, and

provided with access to the BFS payment systems “in a measured, reasonable, and

thoughtful way.” Id. at 50, 52.

      The Court further held that Plaintiffs had sufficiently demonstrated a

“substantial risk of future harm where the data access protocols in place do not

satisfactorily vet the employees with access and rigorously train them in data

security measures.” Id. at 59 (quotation marks omitted). Deciding that the balance

of equities and the public interest in preventing the “catastrophic” consequences of a

possible cybersecurity breach weighed in favor of a preliminary injunction, the

Court granted the motion. Id. at 61.

      While the Court held that Plaintiffs had established a likelihood of success on

their arbitrary and capricious APA claim, the Court concluded that Plaintiffs were

unlikely to succeed on their statutory APA claims. In particular, the Court held

that there was a “clear disjunct between the harm alleged by the Plaintiffs—the

disclosure of their own financial data—and the statutory violation that they assert

under the Privacy Act” and the E-Government Act. Id. at 37. The Court noted that

the Privacy Act and the E-Government Act were enacted to protect information

regarding individuals, such as Personally Identifiable Information (“PII”); “the

security of financial data belonging to states does not even arguably fall within the




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zone of interests that Congress intended to protect through the Privacy Act” or the

E-Government Act. Id. at 36.

      The Court ordered the Treasury Department to certify that the Treasury

DOGE Team members had undergone the proper training to receive access to BFS

payment systems, provide clarity about the vetting and security clearances process

followed for members of the Treasury DOGE Team, explain the mitigation

procedures in place to minimize disclosure risks from the expansion of data access

to the Treasury DOGE Team, provide the legal authority pursuant to which each

DOGE Team member was employed or detailed to the Treasury Department, and

provide the reporting chains governing the DOGE Team members, USDS/DOGE,

and Treasury Leadership. Id. at 63-64. The Court indicated that, upon receipt of

such certifications, the Court would determine whether the Treasury Department

had adequately redressed the violations of the APA found in its PI Order, so as to

justify the termination or modification of the preliminary injunction.

                            PROCEDURAL HISTORY

      On March 7, 2025, Plaintiffs filed a motion pursuant to Local Rule 6.3 asking

the Court to reconsider its holding that they were unlikely to succeed on their APA

claims based upon the Privacy Act of 1974 and the E-Government Act of 2002. ECF

No. 106 (“Reconsideration Br.”) at 1. Plaintiffs argue that the Court overlooked

statutory language and legislative history in determining that the States’ asserted

harm did not fall within the zone of interest of either statute. Id.




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      On March 10, 2025, Defendants submitted a motion to partially dissolve the

preliminary injunction in effect as to Ryan Wunderly, a member of the Treasury

DOGE Team who was appointed on February 19, 2025, as Special Advisor for

Information Technology and Modernization. ECF No. 112 (“Gov’t Br.”) at 4. In

support of their motion, Defendants submitted (1) two declarations from David

Ambrose, BFS’s Chief Security Officer/Chief Privacy Officer/Acting Chief

Information Security Officer, ECF Nos. 116-1 (“First Ambrose Decl.”), 126 (“Second

Ambrose Decl.”); (2) two declarations from Kari Mencl, Chief of Personnel Security

in the Office of Security Programs in the Office of Intelligence and Analysis for the

Department of the Treasury, ECF Nos. 98-4 (“First Mencl Decl.”), 121 (“Second

Mencl Decl.”); (3) the Declaration of Daniel Katz, Chief of Staff of the Department of

the Treasury, ECF No. 98-1 (“Katz Decl.”); (4) the Declaration of Joseph Gioeli III,

Deputy Commissioner for Transformation and Modernization in BFS, ECF No. 98-2

(“Gioeli Decl.”); (5) the Declaration of Michael J. Wenzler, Associate Chief Human

Capital Officer for Executive and Human Capital Services at the Departmental

Offices of the Department of the Treasury, ECF No. 98-3 (“Wenzler Decl.”); (6) the

Declaration of Nathaniel Reboja, the Assistant Commissioner for Information and

Security Services and Chief Information Officer for BFS, ECF No. 116-2 (“Reboja

Decl.”); (7) the Declaration of Vona S. Robinson, Deputy Assistant Commissioner for

Federal Disbursement Services at BFS, ECF No. 122 (“Robinson Decl.”); (8) the

Declaration of Mark Vetter, Deputy Assistant General Counsel (Ethics) at the

Department of the Treasury and the Treasury’s Designated Agency Ethics Official,




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ECF No. 123 (“Vetter Decl.”); (9) the Declaration of Janice Benjamin, Deputy

Director in the Office of Human Resources at the Departmental Offices of the

Department of the Treasury, ECF No. 124 (“Benjamin Decl.”); and (10) the

Declaration of Sandra R. Paylor, Assistant Commissioner for Fiscal Accounting at

BFS, ECF No. 125 (“Paylor Decl.”). Plaintiffs were granted the opportunity, on

consent from Defendants, to submit a surreply brief to respond to the six

supplemental declarations Defendants submitted on March 17, 2025.

      Having considered the parties’ submissions, the Court now addresses both

motions in this Opinion and Order.

                               LEGAL STANDARD

      It is “black letter law” that a motion for reconsideration cannot “advance new

facts, issues or arguments not previously presented to the Court, nor may it be used

as a vehicle for relitigating issues already decided by the Court.” Davidson v.

Scully, 172 F. Supp. 2d 458, 461 (S.D.N.Y. 2001) (citing Shrader v. CSX Transp.

Inc., 70 F.3d 255, 257 (2d Cir. 1995)). The party seeking reconsideration “is not

supposed to treat the court’s initial decision as the opening of a dialogue in which

that party may then use such a motion to advance new theories or adduce new

evidence in response to the court's rulings.” Polsby v. St. Martin’s Press, Inc., No.

97-cv-690 (MBM), 2000 WL 98057, at *1 (S.D.N.Y. Jan 18, 2000) (quotations and

citations omitted); see also Analytical Surveys, Inc. v. Tonga Partners, L.P., 684 F.3d

36, 52 (2d Cir. 2012). Indeed, a motion for reconsideration “is an extraordinary

remedy to be employed sparingly in the interests of finality and conservation of




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 scarce judicial resources.” Drapkin v. Mafco Consol. Group, Inc., 818 F. Supp. 2d

 678, 695 (S.D.N.Y. 2011) (citations and quotations omitted). “A request for

 reconsideration under Rule 6.3 must demonstrate controlling law or factual matters

 put before the Court in its decision on the underlying matter that the movant

 believes the Court overlooked and that might reasonably be expected to alter the

 conclusion reached by the court.” Anwar v. Fairfield Greenwich Ltd., 950 F. Supp.

 2d 633, 637 (S.D.N.Y. 2013).

           The Court has “sound discretion” to grant or deny a motion for

 reconsideration, Bennett v. Watson Wyatt & Co., 156 F. Supp. 2d 270, 271-72

 (S.D.N.Y. 2001) (citation omitted), and such motions will “generally be denied

 unless the moving party can point to controlling decisions or data that the court

 overlooked,” Analytical Surveys, 684 F.3d at 52 (quoting Shrader, 70 F.3d at 257)).

                                       DISCUSSION

I.         THE STATES’ MOTION FOR RECONSIDERATION OF THE
           PRELIMINARY INJUNCTION ORDER

           The States ask that the Court revisit its holding that the States’ asserted

 harm does not fall within the zone of interests protected by the Privacy Act of 1974

 and the E-Government Act of 2002. Reconsideration Br. at 1. They argue that the

 Court “overlooked” key aspects of the statutes and their legislative history in

 reaching its decision. Id. at 2-3. The Court declines to revisit its zone of interests

     holding, as Plaintiffs improperly seek to raise new arguments on a motion for

     reconsideration. Moreover, even were the Court to reconsider its decision, it would

     nonetheless deny the motion on the merits.



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      A.     Plaintiffs Impermissibly Raise New Arguments

      First, Plaintiffs ask the Court to “accord appropriate weight to the statutory

language and legislative history” that purportedly demonstrate that “Congress

intended to promote the States’ interests in Federal Records protecting their

residents’ PII.” Id. at 1. Plaintiffs say that the Court “may have overlooked the

legislative history, including [sections] 5 and 7” of the Privacy Act because the

Court supposedly narrowed its examination to only section 3. Id. at 4. Plaintiffs

then ask the Court to “compare under the zone-of-interests test the States’ interests

in protecting its own financial information with the States’ interest in protecting

Federal Records containing the PII of their residents collected under cooperative

federalism programs.” Id. at 1.

      Yet the Court did not “overlook” these supposedly relevant statutory

provisions and legislative history. Rather, at no point did the States argue that

sections 5 and 7 of the Privacy Act had any bearing on the Court’s analysis. These

provisions were mentioned nowhere in the States’ motion papers, nor referenced at

the Preliminary Injunction Hearing. Nor did the States argue that either the

Privacy Act or the E-Government Act evinced a congressional intent to confer upon

States a role in protecting the integrity and security of federal records.

      Plaintiffs concede that they failed to raise these arguments in support of their

motion for a preliminary injunction. They suggest that they were not required to do

so because “the issue of Congress’ intent when passing the Privacy Act and E-

Government Act was not an ‘adversarial issue’ in contention since Defendants failed




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to challenge the presumption of prudential standing.” ECF No. 119 at 2. Yet the

States bore the burden of proving a reasonable likelihood of success on the merits of

their APA claims. See Moore v. Consol. Edison Co. of New York, 409 F.3d 506, 510

(2d Cir. 2005). This included showing that their claims fell within the zone of

interests of the statutes on which their APA claims were based.

      Indeed, it is clear that the States understood as much. In support of their

preliminary injunction motion, Plaintiffs contended that they satisfied the zone of

interests test under the Privacy Act because the statute protected the PII of

individuals, and they were seeking to protect “from improper disclosure” the PII of

state residents “entrusted to BFS.” ECF No. 51 at 10. They reiterated this point at

the Preliminary Injunction Hearing, arguing that

             under [t]he Zone of Interests Test, we can, indeed, rely on
             the PII of individual residents who reside within these
             states and whose information the states provide through
             portals to the Treasury in order to obtain certain types of
             funding like Medicaid, where the states are the conduit
             through which the funds are disbursed. So our argument
             is that we have prudential standing to raise a Privacy Act
             claim because we do, indeed, forward on, as the stewards
             and trustees of our residents, private information,
             including Social Security numbers and all sorts of other
             forms of PII that we then upload through these secure
             portals in order to obtain those types of fundings where
             the states are the conduit. So we do think that we satisfy
             that requirement and can, unlike for Article III standing,
             we can rely on the fact that access was granted to the PII
             of our residents.

ECF No. 68 (“Hearing Tr.”) 28:23-29:14.

      Similarly, in their moving papers, the States argued that they fell within the

“zone of interests” of section 208 of the E-Government Act, not because the statute



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protected a state interest in data integrity, but because the statute was intended to

protect the personal information of individuals and the States “are required to

include the Medicaid beneficiaries’ PII, along with confidential medical information,

as part of the data uploaded to the BFS systems.” ECF No. 51 at 12-13.

      A motion for reconsideration looks “only to already-considered issues; new

arguments and issues are not to be considered.” Morales v. Quintiles Transnat’l

Corp., 25 F. Supp. 2d 369, 372 (S.D.N.Y. 1998). Plaintiffs’ supposedly “new” theory,

that the statutes evince a Congressional intent to protect the States’ interest in the

“security and integrity” of federal records, is a forbidden “second bite at the apple.”

Drapkin, 818 F. Supp. 2d at 696-97. It was Plaintiffs’ responsibility to raise these

arguments in its prior briefing. They failed to do so. Accordingly, the Court denies

Plaintiffs’ motion for reconsideration.

      B.     Plaintiffs’ Motion for Reconsideration Fails on the Merits

      Although Plaintiffs did not meet the stringent standard for reconsideration of

the PI Order, the Court holds, in the alternative, that even if it were to reconsider

its prior decision, Plaintiffs’ arguments that their concern regarding the security of

State financial data falls within the zone of interests of the Privacy Act or the E-

Government Act are without merit.

             1.     Privacy Act of 1974

      Plaintiffs submit that the Court, in focusing on Section 3 of the Privacy Act,

overlooked other provisions of the statute, namely Sections 5 and 7, that “manifest

Congress’ intent to promote the interests of state governments in safeguarding




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Federal records.” Reconsideration Br. at 4. Plaintiffs also point to a report by the

Senate Committee on Government Operations on the bill that became the Privacy

Act (“Senate Committee Report 93-1183”), that they claim supports their position.

Id. at 4-5. This argument fails on a number of fronts.

      In its PI Order, the Court concluded that the States’ asserted interest in the

protection of its own financial data did not fall within the zone of interests of 5

U.S.C. § 552a, the specific statutory provision upon which the States’ APA claim is

based. The States now argue that the Court erred in focusing solely on section 552a

in assessing the relevant zone of interests, and did not properly place section 552a

in the “overall context” of the statute. Reconsideration Br. at 3 (quoting Clarke v.

Sec. Indus. A’ssn, 479 U.S. 388, 400-01 (1987)). But the Supreme Court has made

clear that “the zone-of-interests test is to be determined not by reference to the

overall purpose of the Act in question . . . but by reference to the particular

provision of law upon which the plaintiff relies.” Bennett v. Spear, 520 U.S. 154,

175-76 (1997) (emphasis added); see also Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871,

883 (1990) (“[T]he plaintiff must establish that the injury he complains of . . . falls

within the ‘zone of interests’ sought to be protected by the statutory provision whose

violation forms the legal basis for his complaint.” (emphasis added)).

      “It is appropriate to draw on the ‘overall context’ of a statute only when doing

so is helpful to understand the meaning of the specific provisions at issue.” Moya v.

United States Dep’t of Homeland Sec., 975 F.3d 120, 131 n.7 (2d Cir. 2020). Sections

5 and 7 of the Privacy Act do little to add to the Court’s understanding of section




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552a. If anything, these provisions merely reinforce the Court’s holding that the

focus of the Privacy Act is the protection of information belonging to individuals,

and not an abstract concern with the integrity of all data contained in federal record

systems writ large.

      Plaintiffs’ argument that the Privacy Act evinces a Congressional intent to

confer upon states the authority to protect the integrity of federal records finds little

support in the statutory language. There is nothing in the Act that grants any

rights or protections to state governments or empowers state governments to take

any action to protect data, let alone data in federal records.

      Section 7 of the Act prohibits “any Federal, State or local government agency

[from denying] to any individual any right, benefit, or privilege provided by law

because of such individual’s refusal to disclose his social security account number.”

Pub. L. 93-579, § 7(a)(1). A prohibition on state government action hardly suggests

that Congress intended state governments to have a role in protecting data found in

federal records.

      Section 5 of the Privacy Act created a “Privacy Protection Study Commission”

for the purpose of conducting a study of “data banks, automated data processing

programs and information systems of governmental, regional, and private

organizations, in order to determine the standards and procedures in force for the

protection of personal information, [and] recommend to the President and the

Congress the extent, if any, to which the requirements and principles of [the

Privacy Act] should be applied to the information practices of those organizations by




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legislation, administrative action, or voluntary adoption of such requirements and

principles . . . .” Pub. L. 93-579, § 5(b), Dec. 31, 1974, 88 Stat. 1896 (as amended by

Pub L. 95-38, June 1, 1977, 91 Stat. 179). The Commission, which finished its work

in 1977 with the publication of its final report, Personal Privacy in an Information

Society (July 12, 1977) (the “Commission Report”), available at

https://www.ojp.gov/pdffiles1/Digitization/49602NCJRS.pdf, focused largely on

“protections for personal privacy in the public sector,” id. at 1. Although one of the

many topics that the Commission was directed to examine was the extent to which

“governmental and private information systems affect Federal-State relations or the

principle of separations of powers,” Pub. L. 93-579, § 5(C)(3)(B), this was largely in

the context of determining the extent to which the federal government should

impose requirements on state or local governments’ handling of information derived

from federal records, as well as the division of responsibility between states and the

federal government for protecting information. Commission Report at 487-95.

      Senate Committee Report 93-1183 similarly does not add anything to the

States’ argument. All the Report says is that the Privacy Act’s protections were

intended as a “complement” to state laws that protect personal privacy. S. Rep. No.

93-1183, at *6932 (1974). It is prudent for state and local governments to

supplement federal efforts to protect individual data, including laws that regulate

state records and private parties, but that does not suggest that section 552a was

intended to confer upon states a role in the protection of data in federal record

databases. Accordingly, this legislative history does not alter the Court’s




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determination that Plaintiffs’ asserted harm does not fall within the zone of

interests of the Privacy Act. See Power Authority of State of N.Y. v. Tug M/V Ellen

S. Bouchard, 433 F. Supp. 3d 477, 480 (S.D.N.Y. 2019).

               2.   E-Government Act

      For much of the same reasons, Plaintiffs’ asserted harm does not fall within

the zone of interests of section 208 of the E-Government Act. Plaintiffs argue that

the Court erred in focusing on section 208 of Title II of the E-Government Act and

overlooking Title I of the statute, Reconsideration Br. at 7, but as stated supra at

13, the zone of interests test requires this Court to assess the array of interests

protected by the specific statutory provision alleged to have been violated. Section

208’s purpose is clear. In the express language of the statute, “[t]he purpose of this

section is to ensure sufficient protections for the privacy of personal information as

agencies implement citizen-centered electronic Government.” Pub. L. 107-347, §

208(a), 116 Stat. 2899 (2002) (“E-Government Act”). An examination of Title I is

therefore unnecessary to aid the Court’s understanding of section 208. Moya, 975

F.3d at 131.

      In contrast to section 208, Title I, which is codified at 44 U.S.C. § 3601 et seq.,

largely sets forth internal mechanisms for federal government policymakers to

assess improvements to information technology across the federal government. It

calls for the creation of an Office of Electronic Government within the Office of

Management and Budget, 44 U.S.C. § 3602(a), establishes the Chief Information

Officers Council as “the principal interagency forum for improving agency practices




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related to the design, acquisition, development, modernization, use, operation,

sharing, and performance of Federal Government information resources,” id. §

3603(d), and allocates funding to promote the use of the technology, including the

internet, within and across federal agencies, id. § 3604. This is consistent with the

stated Congressional purposes in enacting this legislation, which included

“provid[ing] effective leadership of Federal Government efforts to develop and

promote electronic Government services and processes,” “promot[ing] use of the

Internet and other information technologies to provide increased opportunities for

citizen participation in Government,” “mak[ing] the Federal Government more

transparent and accountable,” and “provid[ing] enhanced access to Government

information and services in a manner consistent with laws regarding protection of

personal privacy . . . .” Pub. L. 107-347, § 2.

      Plaintiffs’ attempt to recast the E-Government Act as evincing a

Congressional “intent that state and federal partnerships have a shared interest in

protecting sensitive data systems,” Reconsideration Br. at 7, is devoid of support in

the language of the statute. Section 2 of the Act, which sets forth Congress’s

statement of the purposes of the E-Government Act, nowhere mentions state

governments. Pub. L. 107-347, § 2. And although Title I alludes to federal-state

dialogue with respect to such things as determining “best practices and innovative

approaches in acquiring, using, and managing information resources,” 44 U.S.C. §

3602(f)(9)(A), this is consistent with Congress’s intent to “transform agency

operations by utilizing, where appropriate, best practices from public and private




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sector organizations,” Pub. L. 107-347, § 2(a)(10). That the federal government

sought input from states and local governments in its efforts to improve its

information technology practices hardly suggests that Congress intended for the

State’s own information to be protected by section 208.

       The references to state government in Title I are too insubstantial to show

that the E-Government Act seeks to protect the interests, not just of individuals,

but also of state governments. Accordingly, the States cannot establish that their

interest in the integrity of federal records falls within the zone of interests protected

by section 208 of the E-Government Act.

II.    THE GOVERNMENT’S MOTION TO PARTIALLY DISSOLVE THE
       PRELIMINARY INJUNCTION

       The decision whether to modify a preliminary injunction “involves an exercise

of the same discretion that a court employs in an initial decision to grant or deny a

preliminary injunction.” Weight Watchers Int’l, Inc. v. Luigino’s, Inc., 423 F.3d 137,

141 (2d Cir. 2005). In its Preliminary Injunction Order, the Court invited the

Government to promptly move to modify or terminate the preliminary injunction

once Defendants had an opportunity to address and remediate the procedural

concerns identified by the Court. The Court noted that, “in determining the

appropriate scope of the injunction, the Court is mindful that the usual remedy in

an APA case is to remand to the agency in order to provide it with an opportunity to

cure the identified deficiency. Such a course is particularly appropriate where, as

here, the issues identified by the Court largely have to do with the processes

followed by the agency, and not with the substance of its decisions.” PI Order at 62.



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      A.     The Government’s Submissions Regarding Wunderly

      Animating the Court’s determination that the process surrounding the grant

of access to the Treasury DOGE Team was problematically haphazard and chaotic

were concerns regarding the training received by Treasury DOGE Team members;

the lack of clarity regarding the vetting and security clearance process employed;

the lack of clear reporting lines; the confusion regarding the hiring authorities

relied upon by Defendants; and the insufficiency of the mitigation measures that

were put into place. The Government’s extensive submissions, set forth in 12

declarations spanning 54 pages, largely alleviate those concerns.

      In opposing the motion, Plaintiffs argue that the Court should conduct a more

searching inquiry into the Government’s internal processes. But under the “narrow

standard of review” applicable in a claim that an agency acted arbitrarily and

capriciously, “a court is not to substitute its judgment for that of the agency.” FCC

v. Fox Television Stations, Inc., 556 U.S. 502, 513 (2009) (internal quotation marks

omitted). The Court should assess only whether the agency’s decisionmaking is

reasonable, that is, whether “there has been a clear error of judgment.” Dep’t of

Homeland Sec. v. Regents of the Univ. of California, 591 U.S. 1, 16 (2020). The APA

is not an invitation for the Court to micromanage the minutiae of the Treasury

Department’s day-to-day operations in the manner suggested by Plaintiffs.

             1.    Training

      The Preliminary Injunction Order required Defendants to “certify[] that the

Treasury DOGE Team members have been provided with all training that is




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typically required of individuals granted access to BFS payment systems, including

training regarding the federal laws, regulations, and policies governing the

handling of personally identifiable information, tax return information, and

sensitive financial data, and maintaining the integrity and security of Treasury

data and technology, and attesting that any future Treasury DOGE Team member

will be provided with this same training prior to being granted access to BFS

systems.” PI Order at 63.

      The Government has submitted declarations detailing the types of training

that all BFS employees and contractors with access to BFS data systems are

required to complete. See, e.g., Gioeli Decl., ¶¶ 10, 14; Wenzler Decl., ¶¶ 18-28;

Katz Decl., ¶ 8. The Government’s declarations further establish that, other than

hands-on training in the various BFS payment systems, Wunderly has been

required to complete all training required by other Treasury employees granted

access to BFS systems. See Wenzler Decl., ¶ 22; Reboja Decl., ¶¶ 2-5; Katz Decl.,

¶ 8; Vetter Decl., ¶¶ 4-8; Benjamin Decl., ¶ 4; Paylor Decl., ¶ 6; First Ambrose Decl.,

¶ 6; Second Ambrose Decl., ¶¶ 4-11.

      The States argue that Wunderly’s failure to complete the hands-on training

should preclude modification of the preliminary injunction. ECF No. 118 (“Opp.

Br.”) at 11; ECF No. 133 (“Surreply”) at 4-5. Yet the only reason Wunderly has not

undergone such hands-on training is because the existing preliminary injunction

prohibits him from accessing the BFS payment systems. Robinson Decl., ¶ 8; First

Ambrose Decl., ¶ 8. This issue is easily addressed by requiring, as part of the




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modification of the Preliminary Injunction Order, that Wunderly undergo such

hands-on training for each BFS system prior to being given additional access.

         Plaintiffs also contend that Wunderly has not “complied with the additional

ethics requirements he must meet as a Schedule C appointee.” Opp. Br. at 11;

Surreply at 3. Specifically, Plaintiffs point to the fact that, although Wunderly

received all required training regarding the federal financial disclosure regulations

and, at the time of the Government submission, was current with all of his ethics

requirements, Vetter Decl., ¶¶ 6-8, Wunderly’s OGE 278 Financial Disclosure

Report had not yet been submitted or reviewed. Surreply at 3-4. Plaintiffs argue

that “Wunderly should not have access to BFS’s systems and data until he has

actually cleared the ethics conflicts check based on his completed OGE 278.” Id.

at 4.

         The financial disclosure requirements of the Ethics in Government Act of

1978 and the implementing regulations generally require covered employees at

federal agencies to submit a New Entrant Financial Disclosure Report within 30

days of their appointment, as well as periodic financial transaction reports within

30 days of a qualifying financial transaction, and annual Financial Disclosure

Reports by May 15 of each year. See 5 C.F.R. § 2634.201. These reports then

undergo an internal review by the agency, which can take several months. See id. §

2634.605. Wunderly’s OGE 278 was due on March 21, 2025. Vetter Decl., ¶ 7.

         While conditioning Wunderly’s access to BFS systems on his satisfaction of

the reporting requirement is appropriate, requiring him to wait until his OGE 278




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is adjudicated by the agency is not reasonable. The Court is aware of no authority,

and Plaintiffs do not point to any, that suggests that federal employees are

routinely precluded from performing their job duties while their financial disclosure

reports are pending review by the agency. Indeed, it cannot be the case that all

federal employees who are subject to the Ethics in Government Act’s financial

disclosure requirements are precluded for several months of each year from

performing their job duties while their employing agency reviews their financial

disclosure reports. It is certainly not arbitrary and capricious for the Treasury

Department to determine that Wunderly should not have greater restrictions placed

upon him than are imposed upon any other Treasury employee with access to BFS

payment systems.

             2.    Vetting

      The Court next asked the Government to provide information regarding “the

vetting and security clearances processes that members of the Treasury DOGE

Team have undergone, and how that vetting process compares with the processes

undergone by career employees who have previously been granted access to the BFS

payment systems.” PI Order at 63. The Government’s extensive declarations make

clear that Wunderly has undergone the same vetting and security clearance process

that applies to any other Treasury Department employee provided with access to

BFS payment systems.

      Specifically, the Chief of Personnel Security in the Treasury Department’s

Office of Security Programs (“OSP”), who oversees Treasury’s background vetting




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programs, First Mencl Decl., ¶ 2, attested that “at Treasury, all career federal

employees and political appointees, regardless of the level of the position (e.g.,

public trust, national security sensitive, secret/top secret clearance), undergo the

same overall vetting process, which includes a background investigation and an

adjudication in accordance with national standards and guidelines,” id. ¶ 10. Under

that process, OSP first checks the National Vetting Databases for the applicant’s

current clearance and access level, to determine if a background check is required.

Id. “If an applicant has already undergone a background investigation that has

been favorably adjudicated by a federal government agency and it is in-scope per

the federal investigative standards, and if there are no facts indicating that the

individual does not continue to meet eligibility standards, then the individual does

not need to undergo additional vetting. In these instances, OSP revalidates the

prior background investigation, confirms that it meets the scope required for the

new position at Treasury and that it was favorably adjudicated, and reciprocally

accepts the other federal agency’s determination.” Id. ¶ 7. If a background

investigation is required, then OSP’s Personnel Security Branch will send the

applicant’s e-Application and fingerprints to the Office of Personnel Management

and the Defense Counterintelligence Security Agency (“DCSA”) to initiate a

background check. Id. ¶ 10.

      OSP conducted the national security clearance vetting process for Wunderly

in the same manner used for career employees seeking access to classified Treasury

information. Id. ¶ 11. On February 8, 2025, OSP received Wunderly’s new hire




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package. Id. ¶ 13. On February 10, 2025, the National Vetting Database checks

were completed. Id. It was determined that no background investigation was

required because a qualifying background check had already been completed by the

DCSA in March 2021. Id.; Second Mencl. Decl., ¶ 3. On February 28, 2025,

Wunderly was granted a Top-Secret clearance with SCI access after completion of

his security briefings and his signing of the non-disclosure agreements. First

Mencl. Decl., ¶ 13.

      Plaintiffs complain that Treasury did not conduct its own “independent

background investigation” of Wunderly. Opp. Br. at 4. But as described above,

Treasury does not conduct an “independent” background investigation for any of its

employees. Rather, it submits information regarding the applicant to the DCSA

and other federal agencies, which then conduct the relevant background

investigations. In the case of Wunderly, DCSA had previously completed a

background check. In accordance with the procedures that it follows for all

employees, OSP therefore granted Wunderly a security clearance. The Treasury

Department is not required to employ a different and sui generis process for vetting

DOGE Team members than it does for other employees granted access to the BFS

payment systems.

             3.       Hiring Authority

      In the Preliminary Injunction Order, the Court expressed concern regarding

the validity of the temporary hiring authorities utilized by the Treasury

Department, and accordingly the extent to which the Treasury DOGE Team could




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lawfully access Treasury payment systems. PI Order at 51. The Government’s

declarations adequately address those concerns with respect to Wunderly. Those

declarations establish that Wunderly has been hired by the Department of the

Treasury as a temporary transitional Schedule C employee pursuant to 5 C.F.R. §

213.3302. Wenzler Decl., ¶ 12. Section 213.3302 permits federal agencies to create

positions “necessary to assist a department or agency head during the 1-year period

immediately following a change in presidential administration.” 5 C.F.R. §

213.3302(a). Plaintiffs have not raised any challenge to the legality of Wunderly’s

Schedule C appointment, nor have they demonstrated that Schedule C employees

are legally prohibited from accessing BFS payment systems. Plaintiffs instead

argue that Defendants have not provided detail regarding Wunderly’s “anticipated

work or assignments.” Opp. Br. at 7. But the record establishes that Wunderly was

hired to perform largely the same tasks as Elez, to conduct “special and confidential

studies on a variety of strategies and issues related to Treasury’s information

technology,” as well as to make recommendations as to how to “strengthen

Treasury’s hardware and software.” Wenzler Decl., ¶ 9. The Court does not require

more granular information regarding Wunderly’s contemplated day-to-day

activities.

              4.   Reporting Chain

       The Government also provides more detail regarding the reporting chains

that govern the relationship between Wunderly, USDS, and Treasury leadership.

Specifically, Daniel Katz, the Chief of Staff of the Treasury Department, attests




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that his office and the Office of the Secretary are responsible for overseeing the

Treasury DOGE Team. Katz Decl., ¶ 6. Katz states that, although the Treasury

Department and the Treasury DOGE Team coordinate with the White House and

with USDS to set “high-level policy direction and priorities,” no one at USDS

supervises the members of the Treasury DOGE Team. Id.

      Plaintiffs point out that Defendants’ declarations “provide no explanation as

to how Katz’s supervision . . . will suffice to provide the appropriate safeguards to

prevent the access issues encountered with Elez.” Opp. Br. at 9. While the issue of

proper supervision is relevant to the Treasury Department’s mitigation efforts,

Plaintiffs misapprehend why the Court asked for additional information regarding

the reporting lines for the Treasury DOGE Team. See PI Order at 51-52 (noting

that the “uncertainty” the DOGE Team’s hybrid nature “creates as to their status as

Treasury employees, calls into question their authority to access Treasury record

systems”); see also 5 U.S.C. § 552a(b)(1) (restricting access to information protected

by the Privacy Act “to those officers and employees of the agency which maintains

the record who have a need for the record in the performance of their duties”

(emphasis added)). Whether members of the Treasury DOGE Team can properly be

considered employees of the Treasury Department bears on whether they have the

legal authority to access PII contained in BFS payment systems.

      Plaintiffs’ additional argument that Krause, the DOGE Team Lead, “appears

to be a DOGE employee in all but name,” Opp. Br. at 10, is more on point, although

of less applicability to Wunderly. Plaintiffs cite the decision in CREW v. United




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States DOGE Service, which found that the “embedding” of DOGE Teams within

each agency suggest that USDS is exercising “substantial independent authority”

and can therefore be considered an agency under the Freedom of Information Act.

No. 25-cv-511 (CRC), 2025 WL 752367, at *12 (D.D.C. Mar. 10, 2025).

Notwithstanding the additional information that has been provided by the

Government, Plaintiffs are correct that there is much that remains opaque

regarding the lines of authority between DOGE Team Members and USDS, and the

extent to which the DOGE Team Members provide information to, and take

direction from, USDS.

             5.    Mitigation

      Finally, the Court asked the Government to describe “the mitigation

procedures that have been developed to minimize any threats resulting from

increased access by members of the Treasury DOGE Team to BFS payment

systems.” PI Order at 63-64. In response, the Government states that it will

“implement the same mitigation procedures” that it implemented with respect to

Elez, “as well as any other appropriate mitigation measures.” Gioeli Decl., ¶ 19.

Perhaps more pertinently, the Government represents that, in addition to the

training Wunderly received on BFS’s cybersecurity and PII practices, Wunderly also

received a briefing that specifically addressed Elez’s violation of BFS policies.

Ambrose Decl., ¶ 12.

      Although Plaintiffs argue that “more robust mitigation measures are clearly

needed” because the previously adopted measures were “patently insufficient,” Opp.




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Br. at 12, they do not identify any specific manner in which the existing mitigation

measures are insufficient, nor do they make any concrete suggestions as to any

mitigation practices that Defendants should adopt. Moreover, at the PI Hearing,

Plaintiffs did not adduce any evidence on cybersecurity issues.

Many of the issues that the Court identified with respect to the Treasury

Department’s original mitigation measures occurred because of their hasty

implementation and gaps in training. For example, Elez was erroneously provided

with read/write access to one of the BFS databases. PI Order at 13. There was also

internal confusion as to whether or not he was provided access to a separate

database. Gioeli Decl., ¶ 17. Based on the existing record, the Court finds that the

described mitigation procedures, if properly implemented, coupled with the training

and vetting procedures set forth in the Government’s submissions, are adequate to

satisfy its concerns.

       B.    The Change-in-Position Doctrine

       Plaintiffs alternatively urge the Court to keep the preliminary injunction in

place, even if the Court finds that its procedural concerns are adequately addressed.

Plaintiffs contend that the injunction should be maintained because Defendants

“fail to provide an adequate explanation for the abrupt change in longstanding

Treasury policy brought about by their implementation of the Engagement Plan.”

Opp. Br. at 15; see also id. at 15-21; ECF No. 135. This argument is easily disposed

of.




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      “Agencies are free to change their existing policies as long as they provide a

reasoned explanation for the change.” Encino Motorcars, LLC v. Navarro, 579 U.S.

211, 221 (2016). This so-called change-in-position doctrine ensures that agencies

“take[] into account” the “serious reliance interests” of regulated parties who were

guided by an agency’s previously-stated position. Id. at 221-22.

      The change-in-position doctrine only applies, however, if “an agency changed

existing policy.” Food & Drug Admin. v. Wages & White Lion Invs., L.L.C., 2025

WL 978101, at *14, -- U.S. -- (Apr. 2, 2025). The agency action at issue here is the

grant of access to BFS payment systems by individuals who were ostensibly

Treasury employees but associated with the newly-created DOGE. Such internal

personnel actions are not properly characterized as agency “policy,” let alone the

type of policy that creates reliance interests. As the Supreme Court explained in its

recent decision in Wages & White Lion Invs., for an agency position to constitute a

“policy” within the meaning of the change-in-position doctrine, it must typically

have been set forth in some “formal” manner, such as a regulation, a guidance

memorandum, or an agency enforcement action. 2025 WL 978101, at *14 n.5 (“We

have traditionally applied the change-in-position doctrine when an agency shifts

from a position expressed in a more formal setting.”). There is no allegation that

the Treasury Department had a pre-existing policy expressed in a guidance

document or in some other formal fashion that was altered by the grant of access to

the Treasury DOGE Team.




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      To the extent that Plaintiffs argue that the “policy” that was arbitrarily

changed was the manner “by which Treasury would flag and pause payment

requests” that flowed through the BFS payment systems, Opp. Br. at 17, this is not

the agency action upon which the Court based its grant of the preliminary

injunction. Indeed, the States have repeatedly affirmed that they are not

challenging any blocking of funds in this litigation. PI Order at 54. Thus, whether

the Treasury Department acted arbitrarily and capriciously in automating the

process for pausing payment requests is not before this Court.

      C.     Modification of the Preliminary Injunction

      The Court hereby modifies the PI Order to permit Defendants to grant Ryan

Wunderly access to Treasury Department payment records, payment systems, and

any other data systems maintained by the Treasury Department containing

personally identifiable information and/or confidential financial information of

payees, PROVIDED THAT (i) Wunderly first completes any hands-on training in

such systems that is typically required of other Treasury employees granted

commensurate access; and (ii) that Wunderly first submits his OGE 278 Financial

Disclosure Report.




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                                CONCLUSION

      For the reasons stated herein, the Government’s motion to partially dissolve

the preliminary injunction is GRANTED, and the Plaintiffs’ motion for

reconsideration is DENIED. The Clerk of Court is directed to terminate ECF Nos.

104 and 111.

      SO ORDERED.

Dated: April 11, 25                         ______________________________
       New York, New York                      JEANNETTE A. VARGAS
                                              United States District Judge




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